      Case 3:20-cr-00249-RS         Document 56       Filed 07/20/21     Page 1 of 1




                          UNITED STATES DISTRICT COURT

                       NORTHERN DISTRICT OF CALIFORNIA

                                 CRIMINAL MINUTES

Date: July 20, 2021           Time: 10 minutes                 Judge: RICHARD SEEBORG
Case No.: 20-cr-00249-RS      Case Name: USA v. Rowland Marcus Andrade




Attorney for Government: Andrew Dawson
Attorney for Defendant: Katherine Cooper, Lionel Andre, Manuel A. Medrano,
                        Brian Joel Beck
Defendant : [X] Present [ ] Not Present
Defendant Custodial Status: [] In Custody [X ] Not in Custody

Deputy Clerk: Corinne Lew                                        Court Reporter: Ruth Levine Ekhaus
Interpreter: n/a                                                 Probation Officer: n/a


                                     PROCEEDINGS

 Motion to Withdraw as Attorney Held via Zoom/Video Conference


                                       SUMMARY

 Court proceedings held by zoom. Due to the COVID-19 pandemic, all parties consent to
 proceed by zoom. General Order 74 authorizes the Court to proceed by way of video
 conference hearing.

 The two motions to withdraw [Dkts. 53, 54] are granted in full. Zuber Law firm is also
 withdrawn from civil case: 20-cv-2013.

 Case Continued to: July 22, 2021 at 10:30 am for IDC before Magistrate Judge Tse.

 EXCLUDABLE DELAY:
 Category: Effective Preparation of Counsel
 Begins: 7/20/2021
 Ends: 7/22/2021
 Government to prepare an exclusion order.
